         Case 1:21-cv-00400-APM Document 9 Filed 03/15/21 Page 1 of 3




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

  BENNIE G. THOMPSON

                      Plaintiff,
                                              Case No. 1:21-cv-400 APM
  v.

  DONALD J. TRUMP, et al.

                        Defendants.



             CONSENT MOTION FOR EXTENSION OF TIME TO ANSWER
              OR OTHERWISE PLEAD TO THE AMENDED COMPLAINT


       Pursuant to Federal Civil Rule 6(b)(1)(A), Donald J. Trump moves this Court

for an extension of time to answer or otherwise plead in response to the Complaint

filed in this case. Mr. Trump requests that his response be due on April 26, 2021.

       On February 16, 2021, Plaintiff Thompson’s Complaint was filed. Plaintiff

attempted to serve Mr. Trump by certified mail on February 23, 2021. That parcel

was signed for by an unknown individual identified only as “Ricky.” ECF No. 6.

While Mr. Trump contests whether that service was legally effective, the point is

moot because the parties have decided to focus on the substantive disputes at hand

and have agreed to an extension of time for Mr. Trump to respond to the complaint,

up to and including April 26, 2021. Plaintiff consents to this motion.


Dated: March 15, 2021                         Respectfully Submitted,

                                              /s/ Jesse R. Binnall__________________
                                              Jesse R. Binnall
                                              BINNALL LAW GROUP



                                          1
Case 1:21-cv-00400-APM Document 9 Filed 03/15/21 Page 2 of 3




                                 717 King Street, Suite 300
                                 Alexandria, Virginia 22314
                                 Phone: (703) 888-1943
                                 Fax: (703) 888-1930
                                 Email: jesse@binnall.com
                                 Counsel for Donald J. Trump




                             2
         Case 1:21-cv-00400-APM Document 9 Filed 03/15/21 Page 3 of 3




                           CERTIFICATE OF SERVICE

      I certify that on 15 March 2021, I electronically filed the foregoing Consent

Motion for Extension of Time and Proposed Order with the Clerk of Court using the

CM/ECF system which will send notification of such filing to all counsel and parties

of record.



Dated: March 15, 2021                         /s/ Jesse R. Binnall___________
                                              Jesse R. Binnall
                                              Counsel to Donald J. Trump
